         Case 1:22-cr-00038-BAH Document 61 Filed 05/08/23 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :
              v.                            :      Case No. 22-cr-38 (BAH)
                                            :
JOLENE EICHER,                              :
                                            :
                      Defendant.            :


UNITED STATES’ REPLY IN SUPPORT OF ITS MOTIONS IN LIMINE REGARDING
   EVIDENCE ABOUT THE SPECIFIC LOCATIONS OF U.S. CAPITOL POLICE
      SURVEILLANCE CAMERAS AND U.S. SECRET SERVICE WITNESS


       The United States of America moved in limine to restrict the presentation of evidence

regarding the specific position of U.S. Capitol Police surveillance cameras and the cross-

examination of a United States Secret Service Witness. ECF Nos. 49 and 50. Defendant has

responded that the evidence is unlikely to be pertinent and the areas should be precluded. ECF
         Case 1:22-cr-00038-BAH Document 61 Filed 05/08/23 Page 2 of 2



Nos. 55 and 56. The United States submits the Declaration of Thomas A. DiBiase in support of

its Motion in Limine regarding the specific position of U.S. Capitol Police surveillance cameras.

       Dated: May 8, 2023

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney

                                     By:     /s/Christopher Brunwin
                                             CHRISTOPHER BRUNWIN
                                             California Bar No. 158939
                                             Assistant United States Attorney, Detailee
                                             United States Attorney’s Office
                                             Central District of California
                                             312 N. Spring Street
                                             Los Angeles, California 90012
                                             (213) 894-4242
                                             christopher.brunwin@usdoj.gov

                                             NATHANIEL K. WHITESEL
                                             Assistant United States Attorney
                                             D.C. Bar No. 1601102
                                             United States Attorney’s Office
                                             601 D Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 252-7759
                                             nathaniel.whitesel@usdoj.gov




                                                2
